Case 19-80064-TLS   Doc 1753         Filed 07/31/19 Entered 07/31/19 13:32:46   Desc Main
                                    Document     Page 1 of 22




                               22


               July 31, 2019
                                            Case 19-80064-TLS            Doc 1753     Filed 07/31/19 Entered 07/31/19 13:32:46                     Desc Main
                                                                                     Document     Page 2 of 22


Specialty Retail Shops Holding Corp. (19-80064)
MOR - BS (Assets)
$

                                             2-Feb-19                  2-Mar-19                   6-Apr-19                 4-May-19                   1-Jun-19         6-Jul-19
Current Assets
 Cash and cash equivalents                      20,339,274                 34,177,902                44,223,847                38,661,532                 30,067,121      14,095,327
 Accounts Receivable                            41,932,701                 33,293,845                24,723,692                24,319,075                 21,021,161       8,064,140
 Inventory                                     422,528,957                353,824,858               261,141,635               164,226,849                 67,158,924               (0)
 Prepaid Expenses/ Deposits                      8,347,041                  6,005,525                 6,723,396                17,574,150                  9,879,344      10,872,072
 Other                                           6,169,955                  6,022,271                   404,293                    16,847                        -               -
Total Current Assets                           499,317,928                433,324,401               337,216,863               244,798,453                128,126,549      33,031,538

Fixed Assets
  Property and Equipment                       119,811,894                119,787,580               115,766,000               111,411,000                 97,972,647      94,177,558
  Intangible Assets                              9,106,076                    146,421                       -                         -                          -               -
Total Fixed Assets                             128,917,970                119,934,001               115,766,000               111,411,000                 97,972,647      94,177,558

Other Assets                                     18,994,652                12,931,713                12,224,314                 12,117,519                12,017,407      10,794,843

Total Assets                                   647,230,550                566,190,115               465,207,177               368,326,972                238,116,603    138,003,939

During March, Shopko moved from accrual based accounting to “quasi-cash” based accounting. Shopko conducted a full assessment of their balance sheet and removed
accrual-based estimated liabilities, deferred income, and inventory reserves. Shopko maintained balances for assets that were deemed able to be monetized and their
relevant reserves, where applicable, vouchered Accounts Payable balances and Debt balances.
                                         Case 19-80064-TLS         Doc 1753    Filed 07/31/19 Entered 07/31/19 13:32:46               Desc Main
                                                                              Document     Page 3 of 22


Specialty Retail Shops Holding Corp. (19-80064)
MOR - BS (Liabilities & Equity)
$

                                                  2-Feb-19               2-Mar-19                  6-Apr-19                 4-May-19                   1-Jun-19         6-Jul-19
Liabilities
  Post Petition Debt                                 58,934,311               216,083,126             108,522,288                65,021,627               43,386,862       26,230,803

Pre Petition Debt
 Secured                                            291,702,327                65,935,657              55,968,894               51,052,956                 4,210,466       4,206,453
 Unsecured Priority                                     117,832                   117,832                 117,832                  117,832                   117,832         117,832
 Unsecured Non-Priority                             242,086,989               242,086,989             216,663,604              213,290,330               212,246,970     211,783,991
 Other                                              218,143,234               224,836,250             152,223,167              123,226,193                85,520,318      44,590,412
Total Liabilities                                   810,984,692               749,059,854             533,495,784              452,708,938               345,482,447     286,929,491

Equity
Preferred & Common Stock                                 10,025                    10,025                  10,025                    10,025                   10,025           10,025
Additional Paid in Capital/ Owner Draws              62,514,061                62,324,627              62,514,061                62,514,061               62,514,061       62,514,061
Accumulated other comprehensive income               (1,544,730)               (1,041,693)             (1,041,693)               (1,041,693)              (1,041,693)      (1,041,693)

Retained Earnings/ Net Assets
 through filing date
 post filing date                                  (224,733,498)          (244,162,697)              (129,771,000)             (145,864,359)            (167,763,487)    (210,407,946)

Total Equity                                       (163,754,142)          (182,869,738)               (68,288,607)              (84,381,966)            (106,281,094)    (148,925,553)

Total Liabilities & Equity                          647,230,550               566,190,116             465,207,177              368,326,972               239,201,353     138,003,939

                                                                                             * Other Debt includes $12.5 million of Term Loan B-1 in 6-Jul-19 Period
                                                                                                                                                                                   -
                                                          Case 19-80064-TLS       Doc 1753    Filed 07/31/19 Entered 07/31/19 13:32:46        Desc Main
                                                                                             Document     Page 4 of 22



Specialty Retail Shops Holding Corp. (19-80064)
MOR - Income Statement
$

                                                  1/16/2019 - 2/2/2019     2/3/2019 - 3/2/2019     3/3/2019 - 4/6/2019     4/7/2019 - 5/4/2019      5/5/2019 - 6/1/2019     6/2/2019 - 7/6/2019
Sales                                                        76,343,526             127,543,729             196,894,305             133,482,476              110,232,168               62,873,826
Other Income                                                  1,112,634                2,386,000               1,212,306                 244,876                  502,345                 161,028
 Total Revenues                                              77,456,160             129,929,729             198,106,611             133,727,352              110,734,513               63,034,854

 Cost of sales                                              54,231,316               86,389,140             136,400,992              97,814,726               89,008,141              58,332,478

Gross Margin                                                23,224,844               43,540,589              61,705,619              35,912,626               21,726,372               4,702,376

Operating Expenses
 Sales & Marketing                                             741,335                1,799,658                 869,364               1,246,490                2,127,955               1,201,356
 Total Payroll                                              13,391,980               17,832,740              20,092,881              13,270,696                8,748,393               7,748,546
 Fringe Benefits (pr taxes)                                  2,796,370                2,972,331               3,520,268               1,501,754                2,544,998               2,102,179
 Rent                                                        5,244,528                4,420,338              14,647,945               6,152,955                4,621,980               2,567,780
 Travel & Entertainment                                        187,018                  178,399                 367,804                 (67,708)                  17,971                 109,340
 Attorney Fees                                               2,127,000                3,661,000               2,747,000               1,907,000                1,658,000                 751,000
 Insurance                                                     524,917                  603,489                  78,427                  77,767                  583,453                 399,118
 Other Pro Fees                                              1,603,466               10,772,214              11,924,648              12,318,424               16,599,348              21,495,611
 Dues & Subscriptions                                           80,885                  145,430                 (46,398)                133,034                   37,752                  15,782
 Telecommunications                                            197,780                  228,325                 151,994                 410,678                  167,384                 119,365
 Office Supplies                                               176,675                  302,884                 126,101                 264,136                   22,761                 (28,534)
 Maintenance & Repairs                                       2,322,076                3,636,099               2,932,321               1,633,402                1,012,054                 827,440
 Utilities                                                   1,372,675                2,144,749                (623,110)              2,170,190                1,805,558               1,333,216
 Property taxes                                                885,743                1,756,719               2,157,915               1,460,407                1,326,894                  16,209
 Gain/loss on sale of PP&E and Intangibles                  (8,335,286)              (9,261,694)                 22,557                 236,035                 (707,568)               (193,916)
 Other                                                       2,273,869                7,523,387               2,843,933               2,051,097                1,986,602               1,091,708
Total Operating Expenses                                    25,591,032               50,162,003              61,813,651              44,766,356               42,553,534              39,556,201

Reorganization items, net                                                             1,445,935             117,810,670               (2,539,443)              1,185,297               8,822,874

Operating Income (Loss)

Other Expenses
 USTP Quarterly Fees                                           250,000                                                                  252,925                      -                       -
 Depreciation & Amort                                        1,710,474                2,493,000               2,497,664               2,288,366                2,072,783               2,021,555
 Income Taxes                                                      -                        -                       -                       -                        -                       -
 Interest (net)                                              8,765,557                2,967,000               2,201,937               2,433,879                1,356,006               1,964,872
Total Other Expenses                                        10,726,031                5,460,000               4,699,601               4,975,170                3,428,789               3,986,427

Net Income (Loss)                                           (13,092,219)            (12,081,414)            113,003,037             (16,368,343)             (23,070,654)            (30,017,378)
                                                               Case 19-80064-TLS        Doc 1753     Filed 07/31/19 Entered 07/31/19 13:32:46          Desc Main
                                                                                                    Document     Page 5 of 22



Specialty Retail Shops Holding Corp. (19-80064)
MOR - Other Expenses
$

                                                  1/16/2019 - 2/2/2019     2/3/2019 - 3/2/2019       3/3/2019 - 4/6/2019      4/7/2019 - 5/4/2019      5/5/2019 - 6/1/2019      6/2/2019 - 7/6/2019
BANK INTERCHANGE FEES                                         1,196,346                1,591,368                 2,501,710                1,742,804                1,573,454                1,042,059
NET CASH SHORT/BAD DEBT                                         404,150                5,143,419                    82,251                  (46,683)                 135,582                  (94,266)
PRE-OPENING                                                      41,985                  212,145                   124,235                    4,231                    7,218                   21,426
P & A ALLOWANCES                                               (118,367)                 (84,457)                      -                        -                        -                        -
EXTRANEOUS                                                          -                      5,007                      (612)                  25,142                   62,103                   72,944
FREIGHT SHOPKO TRUCK                                             21,409                   24,430                    21,321                    4,946                      -                        -
FRT, HANDLE MDSE                                                 46,679                   29,392                    90,393                   32,080                  (25,595)                   5,808
OUTBOUND FREIGHT EXPENSE                                          1,636                    2,839                    11,027                    5,932                    3,436                    4,680
3RD PARTY PROCESS FEE                                             6,321                    3,028                    (6,135)                    (103)                 (10,417)                     -
ON LINE THIRD PARTY EXP                                          15,590                    7,313                   (12,231)                     -                        -                        -
INMAR 3RD PARTY FEE                                              70,606                   46,138                    14,241                     (379)                    (200)                     -
GIFT CARD EXPENSE                                               214,028                   15,156                    14,366                   11,455                    7,660                    4,515
TEAMMATE BENEFITS                                                26,833                   14,840                    21,842                   21,108                   22,854                   18,493
TEAMMATE EVENTS - MEALS                                           7,976                    4,885                     3,380                      328                       42                      -
PRE-EMPLOYMENT TESTING                                            4,339                   (4,984)                    7,045                      776                      -                        -
SERVICE RECOGNITION                                               2,105                    4,765                     6,205                      -                        -                        -
FEDERAL EXCLUSION PROGRAM                                             0                      -                         -                        -                        -                        -
CBRF PROJECT EXPENSE                                                429                      521                       316                      -                        -                        -
EQUIPMENT RENTAL                                                  8,244                    4,981                    19,406                    5,465                      188                      468
UNIFORM REPLACEMENT                                               8,416                      (57)                    1,669                     (168)                    (228)                    (256)
340B TRANSACTION FEE EXP                                         26,761                   (1,011)                      -                        -                        -                        -
ELECTRONIC PRESCRIPTIONS                                         19,079                   20,791                   (95,205)                     -                     13,907                      -
LAWN & GARDEN EXPENSE                                               515                      -                      34,309                      -                        -                        -
STORE TRAFFIC PROMOTION                                           6,112                    8,287                     5,178                      296                      -                        -
CHARITABLE CONTRIBUTIONS                                          2,748                    2,791                     1,168                      -                        -                        -
LOCAL ORGANIZATION DONATIONS                                        489                      464                       503                      -                        -                        -
PROFESSIONAL SERVICES                                           117,120                    2,533                       280                  323,691                        0                  382,021
CONTRACTED SERVICES                                             (33,532)                 112,249                   (56,775)                  35,237                   15,103                      -
PROTECTIVE SERVICES                                              20,062                   53,816                     9,859                    5,871                   10,106                    3,619
INVENTORY FEES                                                   11,443                    7,085                    32,805                      -                        -                        -
ALARM MONITORING FEES                                             1,513                    1,638                    52,689                    3,104                    1,224                    2,193
REIMBURSE FRONTEND GLPOS                                         14,921                   13,556                    57,999                   50,182                   38,799                   31,178
BANK CHARGES                                                     49,257                   50,530                    42,866                   42,920                   42,241                   36,682
SCANNING ACCURACY                                                    69                      160                       129                       94                       13                        3
MISCELLANEOUS EXPENSE                                            22,455                   33,708                      (133)                  21,358                   10,838                      551
ARMOR CAR USAGE                                                  11,881                   51,641                    32,062                   26,148                      936                      833
CLOSED LOCATION EXPENSE                                           1,430                      -                         -                        -                        -
EXTRAN                                                           20,980                      -                         -                        -                        -
RESTRUCTURE EXPENSE                                               3,660                      -                         -                        -                        -                    10,000
G&A ALLOCATION D.C. (GA)                                       (107,702)                     -                         -                        -                        -                       -
G&A ALLOCAT. OPT LAB (GA)                                       (48,462)                     -                         -                        -                        -                       -
FORGIVEN DEBT - INTERN ADVANCES (GA)                             59,166                     (350)                     (350)                    (350)                     -                       -
                                                                Case 19-80064-TLS        Doc 1753      Filed 07/31/19 Entered 07/31/19 13:32:46            Desc Main
                                                                                                      Document     Page 6 of 22



Specialty Retail Shops Holding Corp. (19-80064)
MOR - Other Expenses
$

                                                  1/16/2019 - 2/2/2019      2/3/2019 - 3/2/2019        3/3/2019 - 4/6/2019       4/7/2019 - 5/4/2019       5/5/2019 - 6/1/2019       6/2/2019 - 7/6/2019
TEAMMATE BENEFITS (GA)                                           13,836                    24,392                     10,894                       257                        85                        13
SERVICE RECOGNITION (GA)                                            -                         830                      1,905                       -                          40                       -
BAD CHECK RECOVERY (GA)                                             -                         -                          -                      (1,420)                     (264)                     (264)
EDUCATION & SEMINARS (GA)                                         1,199                       274                      1,127                     1,079                       -                       1,215
TRAINING SUPPLIES (GA)                                              853                       108                      1,264                       -                         -                         -
CONTINUING EDUCATION (GA)                                         1,929                       855                      2,804                       -                         -                         -
PRE-EMPLOYMENT TESTING (GA)                                       6,317                     1,758                         33                       -                         -                         -
APPLICANT TRAVEL (GA)                                               267                       -                          -                         -                         -                         -
RECRUITING FEES (GA)                                              2,064                    12,083                     14,801                     1,219                       -                         -
SAMPLE EXPENSE BUYERS (GA)                                           76                        22                           6                      -                         -                         -
SAMPLE EXP NON-BUYERS (GA)                                           36                       -                          -                         -                         -                         -
MODEL FEES (GA)                                                  17,727                    16,445                      3,618                       -                         -                         -
BUYING SERVICE (GA)                                                 943                     1,467                      1,467                     5,867                       -                         -
REGISTERED AGENT (GA)                                            (7,111)                    1,006                     10,056                       -                         379                        75
ROYALTY/REVENUE INCOME (GA)                                     (12,223)                   (8,531)                    (6,824)                   (5,844)                   (2,242)                     (136)
TECHNOLOGY FUND INCOME (GA)                                      (3,720)                   (5,787)                   (34,720)                      -                         -                         -
MARKETING FUND (GA)                                              (5,342)                   (8,310)                  (151,843)                      -                         -                         -
SALES TAX DISCOUNT (GA)                                               (0)                       (1)                        (1)                       (1)                       (0)                       1
MISCELLANEOUS INCOME 266120 (GA)                                 (4,356)                   (1,507)                   (76,637)                 (377,509)                   (4,565)                   (3,232)
INTERN/EXTERNAL INCOME (GA)                                        (908)                   (1,218)                    (1,794)                   (1,034)                     (737)                     (793)
SAMPLE INCOME (GA)                                               (7,759)                  (22,734)                   (39,087)                      -                         -                         -
CIVIL RECOURSE/RESTITUTION (GA)                                  (3,877)                   (7,049)                    (3,180)                     (148)                   (1,916)                   (1,784)
DISASTER RECOVERY (GA)                                           14,421                    11,663                      2,293                     2,375                     2,255                     3,713
ALARM MONITORING FEES (GA)                                          338                       (26)                       -                         325                       -                         -
MISCELLANEOUS EXPENSE (GA)                                       10,309                     3,035                     (6,244)                         1                       52                         6
BANK CHARGES (GA)                                                11,603                    25,604                      7,772                    10,050                     6,868                     5,972
PRE OPENING MISCELLANEOUS (GA)                                       75                       -                          -                         -                         -                         -
CLOSED LOCATION EXPENSE (GA)                                     26,075                       -                          -                         -                         -
EXTRAN (GA)                                                     (12,129)                      -                          -                         -                         -
DATA MINING INCOME (GA)                                             -                         -                      (12,094)                      -                         -                         -
RECEIV DIFFERENCE (GA)                                              -                         -                          110                       -                       2,326                           (0)
Management Fee                                                   64,538                   100,392                    100,392                   100,392                   100,392                      -
                                                              2,273,869                 7,523,387                  2,843,933                 2,051,096                 2,011,936                1,547,736
                                                     Case 19-80064-TLS      Doc 1753       Filed 07/31/19 Entered 07/31/19 13:32:46         Desc Main
                                                                                          Document     Page 7 of 22



Specialty Retail Shops Holding Corp. (19-80064)
MOR - Cash Flow
$

                                       1/16/2019 - 2/2/2019      2/3/2019 - 3/2/2019          3/3/2019 - 4/6/2019      4/7/2019 - 5/4/2019       5/5/2019 - 6/1/2019       6/2/2019 - 7/6/2019
Current Month Cash                                 20,339,274               34,177,902                   44,223,847               38,661,532                30,067,121                 14,095,327
Prior Month Cash                                   11,589,614               20,339,274                   34,177,902               44,223,847                38,661,532                 30,067,121
Net Cash Increase (Decrease)                        8,749,660               13,838,628                   10,045,945                (5,562,315)               (8,594,411)              (15,971,794)

Sources (Uses) of Cash
 Net Income (Loss)                                (13,092,219)             (12,081,414)                113,003,037               (16,368,343)              (23,070,654)              (30,017,378)
 Add: Non- cash (dep & amort)                       1,710,474                2,493,000                   2,497,664                 2,288,366                 2,072,783                 2,021,555
  Non-cash Gain/loss                               (1,853,601)             (11,010,236)                    296,885                   225,008                 1,261,796                   200,778
   Other non-cash allowance                        (1,090,651)               1,483,054                  (1,216,454)               (2,238,391)               (2,163,052)              (13,379,051)
Cash Generated from Operations                    (14,325,997)             (19,115,596)                114,581,132               (16,093,360)              (21,899,127)              (41,174,096)

Add:
Decrease in Assets
  Accounts Receivable                              7,466,103                8,638,856                    8,570,153                   404,617                 3,297,914                12,957,021
  Inventory                                       30,831,049               68,704,099                   92,683,223                96,914,786                97,067,925                67,158,924
  Prepaid Expenses                                 1,993,580                2,341,515                     (717,871)              (10,850,753)                7,694,806                  (992,728)
  Other Current Assets                            (4,143,488)                 147,684                    5,617,978                   387,445                    16,847                       -
  Fixed Assets                                     1,320,917                8,983,969                    4,168,001                 4,355,000                13,438,353                 3,795,089
  Other Assets                                    (7,777,444)               6,062,939                      707,399                   106,795                   100,112                 1,222,564
Increase (Decrease) in Liabilities
  Post Petition Debt                               58,934,311              157,148,816                 (107,560,839)             (43,500,661)              (21,634,765)              (17,156,059)
  Pre Petition Debt                               (65,549,371)            (219,073,655)                (108,003,231)             (37,286,185)              (85,591,726)              (41,396,897)

Total Sources (Uses) of Cash                       8,749,660               13,838,628                   10,045,945                 (5,562,315)               (7,509,661)             (15,586,181)

Net Cash Increase (Decrease)                       8,749,660               13,838,628                   10,045,945                 (5,562,315)               (8,594,411)             (15,971,794)
                                              Case 19-80064-TLS      Doc 1753    Filed 07/31/19 Entered 07/31/19 13:32:46       Desc Main
                                                                                Document     Page 8 of 22


Specialty Retail Shops Holding Corp. (19-80064)
MOR- Schedule of A/R Aging
$

                    Total              0 - 90 Days       Over 90 Days
 1/16/2019           49,398,804             38,551,961        10,846,844
% of Total                 100%                    78%               22%                 0%                 0%

                    Total              0 - 30 Days       31 - 60 Days       61 - 90 Days       91 - 120 Days      Over 120 Days
   2/2/2019          41,932,701             28,129,679         2,324,986            804,259           2,180,010         8,493,768
% of Total                 100%                    67%                6%                 2%                  5%               20%

                    Total              0 - 30 Days       31 - 60 Days       61 - 90 Days       91 - 120 Days      Over 120 Days
   3/2/2019          33,293,845             16,246,161         6,720,370          2,787,407           1,709,261         5,830,646
% of Total                 100%                    49%                20%                8%                  5%               18%

                    Total              0 - 30 Days       31 - 60 Days       61 - 90 Days       91 - 120 Days      Over 120 Days
   4/6/2019          24,723,692             10,569,910         6,104,425          1,285,090           1,372,081         5,392,186
% of Total                 100%                    43%                25%                5%                  6%               22%

                    Total              0 - 30 Days       31 - 60 Days       61 - 90 Days       91 - 120 Days      Over 120 Days
   5/4/2019          24,319,075             10,332,329         1,045,970          5,532,301             910,867         6,497,607
% of Total                 100%                    42%                4%                 23%                 4%               27%

                    Total              0 - 30 Days       31 - 60 Days       61 - 90 Days       91 - 120 Days      Over 120 Days
   6/1/2019          23,684,409              9,956,288           698,695            422,351           5,773,857         6,833,218
% of Total                 100%                    42%                3%                 2%                 24%               29%

                    Total              0 - 30 Days       31 - 60 Days       61 - 90 Days       91 - 120 Days      Over 120 Days
   7/6/2019          22,681,487              9,547,189           109,935            118,146             693,867        12,212,350
% of Total                 100%                    42%                0%                 1%                  3%               54%
                                         Case 19-80064-TLS      Doc 1753    Filed 07/31/19 Entered 07/31/19 13:32:46   Desc Main
                                                                           Document     Page 9 of 22


Specialty Retail Shops Holding Corp. (19-80064)
MOR - Schedule of Fixed Assets
$

                                                  2-Feb-19      2-Mar-19         6-Apr-19       4-May-19        1-Jun-19           6-Jul-19
Building                                            5,579,501     5,555,799        5,532,097      5,508,395       5,484,693          5,460,991
Land                                                1,126,697     1,125,702        1,124,706      1,123,711       1,122,716          1,121,721
Leasehold Improvements                             44,656,803    43,953,951       42,745,486     42,505,500      41,253,852                 -
Store fixtures and equipment                       42,050,702    41,349,087       39,985,885     38,416,815      36,607,927                 -
Shop Machinery & Equip.                                    -             -                -              -               -                  -
PC/Lan/Mainframe                                   10,862,165    11,016,305       10,504,189      9,788,629       8,964,698                 -
Automobile / OTR Tractors and Trailers              3,235,093     3,138,378        3,041,664      2,944,949       2,848,234                 -
Boat/ Airplane                                             -             -                -              -               -                  -
Intangibles                                         9,106,076       146,421               -              -               -                  -
Capital Leased Assets                               5,445,601     5,244,417        5,124,133      4,073,849       2,721,765                 -
Other (list)
  DC WAREHOUSE EQUIPMENT                            6,457,039     6,342,917        6,228,967      6,115,016       6,001,395                -
  DC MOTORIZED EQUIPMENT                                   -             -                -              -               -                 -
  GO FIXTURES & EQUIPMENT                             398,293       390,540          384,342        376,656         368,976                -
  CONSTRUCTION IN PROCESS                                         1,670,484        1,094,530        557,480       1,202,744                -
Total                                             128,917,970   119,934,001      115,766,000    111,411,000     106,577,001         6,582,712
                                        Case 19-80064-TLS      Doc 1753 Filed 07/31/19 Entered 07/31/19 13:32:46    Desc Main
                                                                       Document    Page 10 of 22


Specialty Retail Shops Holding Corp. (19-80064)
MOR - Post Petition Debt
$

                                              2-Feb-19           2-Mar-19          6-Apr-19         4-May-19            1-Jun-19        6-Jul-19
Trade Accounts Payable                            2,818,048          9,529,943         8,048,379       11,043,366          12,084,655      15,897,418

Taxes Payable
Federal payroll taxes                              3,532,086         4,852,569         1,823,672        1,638,966            813,625         656,437
State payroll taxes                                  561,067           758,762           280,645          248,009            124,017         129,526
Local payroll taxes                                    1,750             2,741             4,136            2,225              1,951             -
State sales taxes                                  3,097,569         5,257,380         9,386,537       16,058,645         21,028,918       2,450,201
Real taxes/ personal prop. Taxes                   1,145,797         1,792,723         5,173,636        7,882,983          9,270,469       7,087,307
Other (list)
PREPAID CELLULAR 911 SURCHARGE                            20                56              182               219                425             310
CALIF ELEC RE-CYCLE FEE                                   17                78               66               565                507             -
USE TAXES PAYABLE                                      8,519            60,454           17,270            10,248             15,195           9,605
MN CARE TAX                                           10,803            14,918           19,848             8,934              6,369             -
WASHINGTON B & O                                      21,215            39,162           68,181            47,601             36,592             -
WASHINGTON LITER TAX                                     336               627              445             1,625                128             -
Total Taxes Payable                                8,379,178        12,779,469       16,774,619        25,900,020         31,298,195      10,333,385

Other Liabilities
 Post petition secured debt                       47,571,275       193,643,007       83,453,650        28,000,483               4,012            -
 Accrued interest payable                            165,810           130,708          245,640            77,757                 -              -
 Other (list)
Total Other Liabilities                           47,737,085       193,773,715       83,699,290        28,078,241               4,012            -

Total Post Petition Debt                          58,934,311       216,083,126      108,522,288        65,021,627         43,386,862      26,230,803
                                                      Case 19-80064-TLS          Doc 1753 Filed 07/31/19 Entered 07/31/19 13:32:46         Desc Main
                                                                                         Document    Page 11 of 22



Specialty Retail Shops Holding Corp. (19-80064)
MOR - Summary of Significant Items


1. Insurance Coverage

                                                                    Carrier/ Agent Name                      Amount of Coverage          Policy Expiration Date   Premium Paid thru Date
D&O & Employment Practices Liability (Annual        Federal Insurance Co.                                   D&O Limit: $30,000,000             07/31/20                  07/31/20
            (1)
Installment)                                                                                                EPL Limit: $10,000,000
1st Excess D&O / EPL (Annual Installment)           National Union Fire Insurance Co. of Pittsburgh PA          $15,000,000 xs                 07/31/20                  07/31/20
                                                                                                                 $25,000,000
2nd Excess D&O / EPL (Annual Installment)           American Zurich Ins Co.                                     $15,000,000 xs                 07/31/20                  07/31/20
                                                                                                                 $40,000,000
3rd Excess D&O / EPL (Annual Installment)           Allianz Global Risks US Ins Co.                             $15,000,000 xs                 07/31/20                  07/31/20
                                                                                                                 $55,000,000
4th Excess D&O/EPL                                  Allianz Global Risks US Ins Co.                             $5,000,000 xs                  07/31/20                  07/31/20
                                                                                                                 $70,000,000
Stand Alone Side A D&O (Annual Installment)         Federal Insurance Co.                                        $10,000,000                   07/31/20                 07/31/20
Fiduciary Liability (Annual Installment)            Federal Insurance Co.                                        $10,000,000                   07/31/20                 07/31/20
Kidnap & Ransom                                     Federal Insurance Co.                                        $10,000,000                   07/31/20                 07/31/20
Crime (Annual Installment)                          Federal Insurance Co.                                        $10,000,000                   07/31/20                 07/31/20
D&O - $7.5M                                         Federal Insurance Co.                                         $7,500,000                   01/11/20                 01/11/20
1st Excess $7.5M                                    Allianz Global Risks US Ins Co.                               $7,500,000                   01/11/20                 01/11/20
2nd Excess $7.5M                                    North River Ins Co.                                           $7,500,000                   01/11/20                 01/11/20
3rd Layer $5M X $15M D&O; $2.5M X $7.5M Fiduciary   Markel American Ins Co.                                       $5,000,000                   01/11/20                 01/11/20
4th Layer $5M X $20M Side A                         ACE American Ins Co.                                          $5,000,000                   01/11/20                 01/11/20
Ocean Cargo                                         AIG                                                           $5,000,000                   11/1/2019                11/1/2019
Work Comp - Deductible (AOS)                        ACE American                                                   Statutory                   11/1/2019                11/1/2019
                                                                                                                  $1,000,000
Work Comp - Retro (WI)                              ACE American                                                   Statutory                   11/1/2019                11/1/2019
                                                                                                                  $1,000,000
General Liability                                   ACE American                                         General Aggregate: $5,500,000         11/1/2019                11/1/2019
                                                                                                              Products/Comp Ops:
                                                                                                                  $3,500,000
                                                                                                          Per Occurrence: $1,500,000
                                                                                                             Personal & Adv Injury:
                                                                                                                  $5,750,000
                                                                                                          Fire Damage Legal Liability:
                                                                                                                   $500,000
General Liability (Spirit Locations)                ACE American                                         General Aggregate: $1,750,000         11/1/2019                11/1/2019
                                                                                                              Products/Comp Ops:
                                                                                                                  $1,750,000
                                                                                                           Per Occurrence: $100,000
                                                                                                             Personal & Adv Injury:
                                                                                                                  $5,750,000
                                                                                                          Fire Damage Legal Liability:
                                                                                                                  $3,750,000
                                                    Case 19-80064-TLS        Doc 1753 Filed 07/31/19 Entered 07/31/19 13:32:46      Desc Main
                                                                                     Document    Page 12 of 22



Specialty Retail Shops Holding Corp. (19-80064)
MOR - Summary of Significant Items

Michigan Liquor Policy                            ACE American                                   Each Common Cause: $50,000           11/1/2019   11/1/2019
                                                                                                      Aggregate: $50,000
Automobile Liability                              ACE American                                            $2,000,000                  11/1/2019   11/1/2019
Umbrella Liability                                ACE Prop & Cas                                          $25,000,000                 11/1/2019   11/1/2019
Excess Liability ($25M xs $25M)                   Liberty Ins. Underwriters, Inc.                         $25,000,000                 11/1/2019   11/1/2019
Excess Liability ($25M xs $50M)                   Indemnity Insurance Company of North America            $25,000,000                 11/1/2019   11/1/2019
Optometrist Professional Liability                Coverys Specialty Insurance Co.                         $5,000,000                  11/1/2019   11/1/2019
Pharmacy Professional Liability                   Coverys Specialty Insurance Co.                          $5,000,00                  11/1/2019   11/1/2019
Storage Tank Liability                            Liberty Surplus Insurance Co.                    Each Accident: $2,000,000          11/1/2019   11/1/2019
                                                                                                     Aggregate: $4,000,000
Foreign Package                                   Great Northern                                   BI & PD Limit: $1,000,000          11/1/2019   11/1/2019
                                                                                                 General Aggregate: $2,000,000
                                                                                                    Occurrence: $1,000,000
                                                                                                     Personal & Adv Injury:
                                                                                                          $1,000,000
                                                                                                  Fire Damage Legal Liability:
                                                                                                          $1,000,000
                                                                                                   Medical Expense: $10,000
                                                                                                 Employer's Liability: $1,000,000



Property Insurance                                Lockton Companies                                       $10,000,000                 6/30/2019   6/30/2019
                                                    Case 19-80064-TLS       Doc 1753 Filed 07/31/19 Entered 07/31/19 13:32:46   Desc Main
                                                                                    Document    Page 13 of 22



Specialty Retail Shops Holding Corp. (19-80064)
MOR - Summary of Significant Items

2. Payments to Secured Creditors

                                                                                                                  1
                                                                        Payee                         Description          Current Month Amount Paid        Total Post Petition
                                                  Wells Fargo Capital                         Revolver - Principal                              8,043,818                 272,188,184
                                                  Wells Fargo Capital                         Term Loan B - Principal                                  -                    49,055,313
                                                  Wells Fargo Capital                         Term Loan B-1 - Principal                       20,749,125                    22,500,000
                                                  Wells Fargo Capital                         Revolver A-1 - Principal                                 -                    30,000,000

1 - Term loan payments are non-cash transfers.
                                                  Case 19-80064-TLS   Doc 1753 Filed 07/31/19 Entered 07/31/19 13:32:46     Desc Main
                                                                              Document    Page 14 of 22



Specialty Retail Shops Holding Corp. (19-80064)
MOR - Summary of Significant Items

3. Payments to Tax Entities (current month)

                                                  Date Paid           Amount Paid          Post Petition Taxes Unpaid
Other                                                   6/3/2019                       5                                -
State Sales & Use Taxes                                 6/3/2019                 159,674                                -
State Sales & Use Taxes                                 6/3/2019                  26,405                                -
State Sales & Use Taxes                                 6/3/2019                 430,537                                -
State Sales & Use Taxes                               5/16/2019                  155,517                                -
Other                                                 5/20/2019                       49                                -
State Sales & Use Taxes                               6/10/2019                   79,373                                -
Other                                                   6/3/2019                      15                                -
State Sales & Use Taxes                               6/11/2019                  205,831                                -
Other                                                 6/14/2019                    1,773                                -
State Sales & Use Taxes                               6/18/2019                   79,373                                -
State Sales & Use Taxes                               6/20/2019                    6,038                                -
State Sales & Use Taxes                               6/24/2019                    1,223                                -
State Sales & Use Taxes                               6/20/2019                  229,088                                -
State Sales & Use Taxes                               6/20/2019                   69,346                                -
State Sales & Use Taxes                               6/21/2019                   88,070                                -
State Sales & Use Taxes                               6/20/2019                   29,492                                -
State Sales & Use Taxes                               6/20/2019                   36,227                                -
State Sales & Use Taxes                               6/20/2019                   41,735                                -
State Sales & Use Taxes                               6/20/2019                    3,329                                -
State Sales & Use Taxes                               6/20/2019                   36,090                                -
State Sales & Use Taxes                               6/24/2019                      418                                -
State Sales & Use Taxes                               6/24/2019                        3                                -
Other                                                 6/21/2019                       15                                -
Other                                                 6/21/2019                        3                                -
State Sales & Use Taxes                               6/21/2019                   88,348                                -
Other                                                 6/21/2019                       91                                -
State Sales & Use Taxes                               6/21/2019                  406,922                                -
State Sales & Use Taxes                               6/20/2019                       59                                -
State Sales & Use Taxes                               6/24/2019                   11,705                                -
State Sales & Use Taxes                               6/25/2019                   79,373                                -
State Sales & Use Taxes                               6/20/2019                    2,694                                -
State Sales & Use Taxes                               6/20/2019                  101,305                                -
State Sales & Use Taxes                               6/21/2019                1,755,276                                -
State Sales & Use Taxes                               6/21/2019                    5,172                                -
State Sales & Use Taxes                               6/21/2019                  245,735                                -
State Sales & Use Taxes                               6/21/2019                  616,804                                -
State Sales & Use Taxes                               6/25/2019                  411,006                                -
Other                                                 6/26/2019                        0                                -
State Sales & Use Taxes                               6/26/2019                    9,063                                -
State Sales & Use Taxes                               6/26/2019                        9                                -
State Sales & Use Taxes                               6/25/2019                   30,864                                -
State Sales & Use Taxes                               6/26/2019                  258,112                                -
State Sales & Use Taxes                               6/27/2019                  258,510                                -
                                                  Case 19-80064-TLS   Doc 1753 Filed 07/31/19 Entered 07/31/19 13:32:46   Desc Main
                                                                              Document    Page 15 of 22



Specialty Retail Shops Holding Corp. (19-80064)
MOR - Summary of Significant Items

Other                                                 6/28/2019                  1,773                           -
State Sales & Use Taxes                                7/1/2019                 79,373                           -
State Sales & Use Taxes                               6/28/2019                 99,445                           -
State Sales & Use Taxes                               6/28/2019                298,292                           -
Other                                                  7/2/2019                      1                           -
State Sales & Use Taxes                                7/2/2019                124,993                           -
State Sales & Use Taxes                                7/2/2019                 18,716                           -
Other                                                 6/26/2019                      7                           -
State Sales & Use Taxes                               6/18/2019                148,477                           -
State Sales & Use Taxes                                7/2/2019                105,043                           -
Other                                                 6/21/2019                     88                           -
Other                                                  7/2/2019                      1                           -
Property Taxes                                        6/10/2019                 58,802                           -
Property Taxes                                        6/10/2019                  4,186                           -
Property Taxes                                        6/13/2019                  3,257                           -
Property Taxes                                        6/13/2019                  2,445                           -
Property Taxes                                        6/13/2019                  3,475                           -
Property Taxes                                        6/13/2019                  1,381                           -
Property Taxes                                        6/13/2019                  3,189                           -
Property Taxes                                        6/13/2019                  2,854                           -
Property Taxes                                        6/13/2019                  2,181                           -
Property Taxes                                        6/13/2019                  2,562                           -
Property Taxes                                        6/13/2019                  4,621                           -
Property Taxes                                        6/13/2019                  2,086                           -
Property Taxes                                        6/13/2019                  2,688                           -
Property Taxes                                        6/13/2019                  2,397                           -
Property Taxes                                         7/2/2019                 52,520                           -
Property Taxes                                        6/13/2019                  2,293                           -
Property Taxes                                        6/13/2019                  1,020                           -
Property Taxes                                        6/13/2019                  2,803                           -
Property Taxes                                        6/13/2019                  1,803                           -
Property Taxes                                        6/13/2019                    463                           -
Property Taxes                                        6/13/2019                 37,898                           -
Property Taxes                                        6/13/2019                    162                           -
Property Taxes                                        6/13/2019                  1,483                           -
Property Taxes                                        6/13/2019                  1,131                           -
Property Taxes                                        6/25/2019                  2,607                           -
Property Taxes                                        6/25/2019                  4,535                           -
Property Taxes                                        6/25/2019                  3,450                           -
Property Taxes                                        6/25/2019                  2,023                           -
Property Taxes                                        6/25/2019                  2,422                           -
Property Taxes                                        6/25/2019                  3,142                           -
Property Taxes                                        6/25/2019                  1,742                           -
Property Taxes                                        6/25/2019                    212                           -
Property Taxes                                        6/25/2019                  2,539                           -
Property Taxes                                        6/25/2019                  2,516                           -
Property Taxes                                        6/25/2019                  2,680                           -
                                                        Case 19-80064-TLS          Doc 1753 Filed 07/31/19 Entered 07/31/19 13:32:46   Desc Main
                                                                                           Document    Page 16 of 22



Specialty Retail Shops Holding Corp. (19-80064)
MOR - Summary of Significant Items

Federal Payroll Taxes (include employee portion)      5/9/19 & 5/23/19                     3,024,294                          -
FUTA                                                  5/9/19 & 5/23/19                        20,941                          -
State Payroll Taxes Withheld                          5/9/19 & 5/23/19                       437,177                          -
SUTA                                                  5/9/19 & 5/23/19                        31,607                          -

*Other includes E911 tax, commercial activity tax, franchise tax and federal deposit
                                                      Case 19-80064-TLS   Doc 1753 Filed 07/31/19 Entered 07/31/19 13:32:46   Desc Main
                                                                                  Document    Page 17 of 22



Specialty Retail Shops Holding Corp. (19-80064)
MOR - Summary of Significant Items

4. Payments of Compensation (current month)

                                                         Name              Amount                 Date of Court Order
                                                  DePaul,James                      178,104           01/16/2019
                                                  Petersen,Ray                      171,360           01/16/2019
                                                  Steinhorst,Russell                674,138           01/16/2019
                                                      Case 19-80064-TLS        Doc 1753 Filed 07/31/19 Entered 07/31/19 13:32:46       Desc Main
                                                                                       Document    Page 18 of 22



Specialty Retail Shops Holding Corp. (19-80064)
MOR - Summary of Significant Items

5. Payments to Professionals (current month)

                                                             Name                      Amount               Date of Court Order
                                               Gordon Brothers                               23,304,997         01/16/2019
                                               McGrath North Mullin & Kratz                      96,667         01/16/2019
                                               Kirkland & Ellis                                 663,000         01/16/2019
                                               BRG                                              930,000         01/16/2019
                                               Prime Clerk                                      407,410         01/16/2019
                                               Willkie Far & Gallagher                          761,763         01/16/2019




6. Record of Disbursements and Payments of Quarterly Fees

                                                    Total Disbursements             Quarterly Total           Quarterly Fee            Date Paid         Amount Paid
Period Ending
January (1/16-2/2)                                                73,731,930
February                                                          88,320,924                   88,320,924
March                                                             83,143,950                  171,464,874
April                                                             54,273,904                  225,738,778                    252,925         4/26/2019       252,925
May                                                               66,761,476                   66,761,476
June                                                              59,941,385                  126,702,861
                                                     Case 19-80064-TLS          Doc 1753 Filed 07/31/19 Entered 07/31/19 13:32:46              Desc Main
                                                                                        Document    Page 19 of 22



Specialty Retail Shops Holding Corp. (19-80064)
MOR - Bank Reconciliation

                                                                                          Account Number
        Debtor Entity                  Bank Name                     Account Type             (last 4)        Bank Balance     Reconciled Balance    Ledger Balance     Reconciled as of 6/18? GL Account
Shopko Stores Operating Co    Bank of America               Other A/P Cash                            *0778     1,202,112.59        1,141,949.83         1,141,294.91            Yes             109219
Shopko Stores Operating Co    Bank of America               Other A/P Cash                            *0719               -                   -                    -             Yes             109239
Shopko Stores Operating Co    Bank of America               Other A/P Cash                            *0151               -                   -                    -             Yes             109233
Shopko Stores Operating Co    Bank of America               Other A/P Cash                            *1696               -            (45,817.43)          (57,744.73)          Yes             109240
Shopko Stores Operating Co    Bank of America               Other A/P Cash                            *1688         (7,642.88)       (348,215.47)         (323,306.49)           Yes             109242
Shopko Stores Operating Co    Bank of America                                                         *6347               -                   -                    -             Yes             109256
Above accounts reconciled together                                                                              1,052,978.85        5,044,097.79         4,811,063.56            Yes              Total
Shopko Stores Operating Co    Bank of America               Other A/P Cash                           *2403                -                   -                    -             yes             001047
Shopko Stores Operating Co    Bank of America               Other A/P Cash                           *7337           7,014.32            7,644.23          163,501.14            yes             109251
Shopko Stores Operating Co    Associated                    Other A/P Cash                           *5654                                                                       Yes             109243
Shopko Stores Operating Co    Bank of America               Other A/P Cash                           *1670               -                   -                     -             Yes             109241
Shopko Stores Operating Co    Bank of America               Other A/P Cash                           *6134               -                   -                     -             yes             109231
Shopko Stores Operating Co    Associated                    Other A/P Cash                           *4654        120,247.46          120,247.46           120,247.46            yes             001119
Shopko Stores Operating Co    Associated                    Other A/P Cash                           *4647         11,328.12           11,328.12             11,295.80           yes             001118
Shopko Stores Operating Co    Associated                    Other A/P Cash                           *4662               -                   -                     -             yes             001117
Shopko Stores Operating Co    Associated                    Other A/P Cash                           *9416          7,038.53            7,038.53              7,038.53           yes             001046
Shopko Stores Operating Co    Associated                    Other A/P Cash                           *7528              8.32                8.32                  8.32           yes             001045
Shopko Stores Operating Co    Associated                    Other A/P Cash                           *4102               -                   -                     -             yes             001021
Shopko Stores Operating Co    Associated                    Other A/P Cash                           *3485               -                   -                     -             yes             001018
Shopko Stores Operating Co    Associated                    Other A/P Cash                           *0366         23,005.61           23,005.61             22,677.49           yes             001015
Shopko Stores Operating Co    Wells Fargo                   Demand Deposit                           *3108         34,386.73          451,093.76           451,093.76            Yes             109255
Shopko Stores Operating Co    Bank of America               Professional Service Escrow              *9586     11,167,236.97       11,167,236.97        11,167,236.97            yes             001200
Shopko Stores Operating Co    Associated                    Demand Deposit                           *4807        348,041.11        1,638,660.20         1,638,660.20            Yes             001113
Shopko Stores Operating Co    US Bank                       Demand Deposit                           *2253        226,820.17          659,774.16           659,774.16            Yes             001113
Shopko Stores Operating Co    Wells Fargo                   Demand Deposit                           *8789      1,126,488.71        2,886,526.53         2,886,526.53            Yes             001113
Shopko Stores Operating Co    Dakota Bank                   Demand Deposit                           *1763         11,986.09           20,931.45             20,931.45           Yes             001113
Shopko Stores Operating Co    Grant County Bank             Demand Deposit                           *8834          5,106.25           10,945.21             10,945.21           Yes             001113
Shopko Stores Operating Co    First National Bank of Beloit Demand Deposit                           *6700          4,782.35            9,444.46              9,444.46           Yes             001113
Shopko Stores Operating Co    Banc Central                  Demand Deposit                           *5202          2,092.84            8,189.33              8,189.33           Yes             001113
Shopko Stores Operating Co    Western Bank of Wolf Point Demand Deposit                              *5528          9,448.81           21,626.35             21,626.35           Yes             001113
Shopko Stores Operating Co    Bank of the West              Demand Deposit                           *7476          1,592.65            8,300.11              8,300.11           Yes             001113
Shopko Stores Operating Co    First Nat'l Bank of Moose LakeDemand Deposit                           *2201          3,104.50            5,221.35              5,221.35           Yes             001113
Shopko Stores Operating Co    First Nat'l Bank Mahnomen Demand Deposit                               *4201          6,772.49           12,605.36             12,605.36           Yes             001113
Shopko Stores Operating Co    Little Horn State Bank        Demand Deposit                           *3018          6,929.44           16,054.14             16,054.14           Yes             001113
Shopko Stores Operating Co    DeMotte State Bank            Demand Deposit                           *9403          3,961.61            8,872.14              8,872.14           Yes             001113
Shopko Stores Operating Co    First State Bank of No. DakotaDemand Deposit                           *5796          5,700.99            7,913.76              7,913.76           Yes             001113
Shopko Stores Operating Co    First Bank of Kansas          Demand Deposit                           *5692          3,765.01            8,874.25              8,874.25           Yes             001113
Shopko Stores Operating Co    Farmers & Merchants NationaDemand Deposit                              *3492          6,965.62           10,691.56             10,691.56           Yes             001113
Shopko Stores Operating Co    Security State Bank           Demand Deposit                           *5668         12,647.81           22,393.34             22,393.34           Yes             001113
Shopko Stores Operating Co    First Dakota National Bank Demand Deposit                              *1317         12,594.81           17,614.42             17,614.42           Yes             001113
Shopko Stores Operating Co    Great Western Bank            Demand Deposit                           *1188          4,823.77            6,658.45              6,658.45           Yes             001113
Shopko Stores Operating Co    Northstar Bank Colorado       Demand Deposit                           *4528          3,606.85            9,622.40              9,622.40           Yes             001113
Shopko Stores Operating Co    First Presidio Bank           Demand Deposit                           *8339          5,807.09           12,650.75             12,650.75           Yes             001113
Shopko Stores Operating Co    1st National Bank             Demand Deposit                           *3200          4,651.59            9,011.29              9,011.29           Yes             001113
Shopko Stores Operating Co    Grand Marsh State Bank        Demand Deposit                           *5204          4,865.10            8,537.85              8,537.85           Yes             001113
                                                     Case 19-80064-TLS         Doc 1753 Filed 07/31/19 Entered 07/31/19 13:32:46         Desc Main
                                                                                       Document    Page 20 of 22



Specialty Retail Shops Holding Corp. (19-80064)
MOR - Bank Reconciliation

                                                                                        Account Number
        Debtor Entity                   Bank Name                   Account Type            (last 4)     Bank Balance     Reconciled Balance   Ledger Balance    Reconciled as of 6/18? GL Account
Shopko Stores Operating Co     mBank                          Demand Deposit                     *9457         5,065.76           10,860.45          10,860.45           Yes             001113
Shopko Stores Operating Co     People State Bank              Demand Deposit                     *7169         7,859.81           14,811.27          14,811.27           Yes             001113
Shopko Stores Operating Co     Miners State Bank              Demand Deposit                     *0309         3,782.01            9,331.36           9,331.36           Yes             001113
Shopko Stores Operating Co     Superior National Bank & TrusDemand Deposit                       *1775         3,925.96            7,936.26           7,936.26           Yes             001113
Shopko Stores Operating Co     American Trust & Savings       Demand Deposit                     *2638         3,343.92            6,553.57           6,553.57           Yes             001113
Shopko Stores Operating Co     1st Bational Bank              Demand Deposit                     *5890         2,484.21            4,713.50           4,713.50           Yes             001113
Shopko Stores Operating Co     State Bank of Arcadia          Demand Deposit                     *5756         5,237.72            9,264.49           9,264.49           Yes             001113
Shopko Stores Operating Co     Johnson Bank                   Demand Deposit                     *7398         4,932.75            7,463.12           7,463.12           Yes             001113
Shopko Stores Operating Co     Savanna Thomson State Bank Demand Deposit                         *8652         4,661.69            9,662.01           9,662.01           Yes             001113
Shopko Stores Operating Co     Fountain Trust                 Demand Deposit                     *9901         6,659.98           14,366.37          14,366.37           Yes             001113
Shopko Stores Operating Co     Central Illinois Bank          Demand Deposit                     *3154         4,377.93            8,230.19           8,230.19           Yes             001113
Shopko Stores Operating Co     Fountain Trust                 Demand Deposit                     *3901         5,512.80           14,265.22          15,062.55           Yes             001113
Shopko Stores Operating Co     Arcola/Tuscola First National BDemand Deposit                     *3555         2,900.61            9,306.42           9,306.42           Yes             001113
Shopko Stores Operating Co     First National Bank of Dwight Demand Deposit                      *9108         3,602.73            6,782.47           6,782.47           Yes             001113
Shopko Stores Operating Co     Choice One Bank                Demand Deposit                     *6185         8,041.81           17,315.95          17,315.95           Yes             001113
Shopko Stores Operating Co     Firstbank                      Demand Deposit                     *4945         7,164.28           16,576.30          16,576.30           Yes             001113
Shopko Stores Operating Co     Chemical Bank & Trust Co       Demand Deposit                     *7117         5,756.18           15,777.42          15,777.42           Yes             001113
Shopko Stores Operating Co     Lake City Bank                 Demand Deposit                     *5615         5,439.02           12,666.37          12,666.37           Yes             001113
Shopko Stores Operating Co     United Bank & Trust            Demand Deposit                     *0113         4,590.44           10,512.39          10,512.39           Yes             001113
Shopko Stores Operating Co     Tri-County Bank                Demand Deposit                     *7281         6,110.86           13,547.30          13,547.30           Yes             001113
Shopko Stores Operating Co     West Shore Bank                Demand Deposit                     *9556         6,402.91           14,551.96          14,551.96           Yes             001113
Shopko Stores Operating Co     CP Federal Credit Union        Demand Deposit                     *8543         3,762.72           12,039.28          12,039.28           Yes             001113
Shopko Stores Operating Co     Chemical Bank                  Demand Deposit                     *6820         6,069.23           15,641.31          15,641.31           Yes             001113
Shopko Stores Operating Co     Northwestern Bank              Demand Deposit                     *5042         5,437.61           12,214.06          12,214.06           Yes             001113
Shopko Stores Operating Co     Sac Federal Credit Union       Demand Deposit                     *4613         6,489.37            9,250.06           9,250.06           Yes             001113
Shopko Stores Operating Co     First National Bank of HamptoDemand Deposit                       *1291         4,822.70           11,288.21          11,288.21           Yes             001113
Shopko Stores Operating Co     Northwestern Bank              Demand Deposit                     *7737         3,530.05            6,356.43           6,356.43           Yes             001113
Shopko Stores Operating Co     Bank Iowa                      Demand Deposit                     *2937         2,783.71            6,800.31           6,800.31           Yes             001113
Shopko Stores Operating Co     Fidelity Bank                  Demand Deposit                     *3124         4,394.38           11,402.15          11,402.15           Yes             001113
Shopko Stores Operating Co     State National Bank & Trust Demand Deposit                        *4142         1,944.12            4,235.00           4,235.00           Yes             001113
Shopko Stores Operating Co     Waukon State Bank              Demand Deposit                     *4051         3,609.63            6,285.07           6,285.07           Yes             001113
Shopko Stores Operating Co     Great Western Bank             Demand Deposit                     *4110         4,464.51            7,619.98           7,619.98           Yes             001113
Shopko Stores Operating Co     First National Bank (AinsworthDemand Deposit                      *6139         4,558.76            7,379.50           7,379.50           Yes             001113
Shopko Stores Operating Co     Farmers & Merchants State BaDemand Deposit                        *5283         2,606.14            5,500.05           5,500.05           Yes             001113
Shopko Stores Operating Co     Great Western Bank             Demand Deposit                     *4161         3,373.80            8,650.70           8,650.70           Yes             001113
Shopko Stores Operating Co     State Bank of Toledo           Demand Deposit                     *1278         6,115.90           12,210.44          12,210.44           Yes             001113
Shopko Stores Operating Co     First State Bank (Ida Grove) Demand Deposit                       *1696         3,725.34            8,687.44           8,687.44           Yes             001113
Shopko Stores Operating Co     Shelby County State Bank       Demand Deposit                     *9502         3,697.04            8,101.55          10,772.89           Yes             001113
Shopko Stores Operating Co     Audubon State Bank             Demand Deposit                     *2178         4,935.97            7,691.85           7,691.85           Yes             001113
Shopko Stores Operating Co     Bank of the West               Demand Deposit                     *3172         2,986.38           10,330.61          10,330.61           Yes             001113
Shopko Stores Operating Co     Great Western Bank             Demand Deposit                     *4209         5,538.47            7,756.45           7,756.45           Yes             001113
Shopko Stores Operating Co     Great Western Bank             Demand Deposit                     *4217         3,326.94            9,287.32           9,287.32           Yes             001113
Shopko Stores Operating Co     First National Bank (GreenfieldDemand Deposit                     *9414         3,644.02            6,407.45           6,407.45           Yes             001113
Shopko Stores Operating Co     Great Western Bank             Demand Deposit                     *4065         2,892.12            6,568.26           6,568.26           Yes             001113
Shopko Stores Operating Co     Great Western Bank             Demand Deposit                     *4081         2,157.56            3,422.85           3,422.85           Yes             001113
                                                     Case 19-80064-TLS          Doc 1753 Filed 07/31/19 Entered 07/31/19 13:32:46         Desc Main
                                                                                        Document    Page 21 of 22



Specialty Retail Shops Holding Corp. (19-80064)
MOR - Bank Reconciliation

                                                                                         Account Number
        Debtor Entity                   Bank Name                    Account Type            (last 4)     Bank Balance     Reconciled Balance   Ledger Balance    Reconciled as of 6/18? GL Account
Shopko Stores Operating Co     Great Western Bank              Demand Deposit                     *4153         5,236.17            6,778.33           6,778.33           Yes             001113
Shopko Stores Operating Co     Central National Bank           Demand Deposit                     *0740         3,555.75            5,900.34           5,900.34           Yes             001113
Shopko Stores Operating Co     Union State Bank                Demand Deposit                     *9791         5,159.10            9,523.46           9,523.46           Yes             001113
Shopko Stores Operating Co     Nebraska State Bank             Demand Deposit                     *7185         3,841.15            5,680.08           5,680.08           Yes             001113
Shopko Stores Operating Co     First State Bank (Norton)       Demand Deposit                     *0717         4,167.45            9,079.15           9,079.15           Yes             001113
Shopko Stores Operating Co     United Bank & Trust             Demand Deposit                     *9860         3,620.41            7,935.23           7,935.23           Yes             001113
Shopko Stores Operating Co     1st State Bank (Gothenburg) Demand Deposit                         *2168         2,867.36            4,910.75           4,910.75           Yes             001113
Shopko Stores Operating Co     First National Bank (Scott City)Demand Deposit                     *2550         4,757.89            9,197.58           9,197.58           Yes             001113
Shopko Stores Operating Co     Points West Community Bank Demand Deposit                          *1724         2,479.66            5,022.18           5,022.18           Yes             001113
Shopko Stores Operating Co     First Bank of Lyon              Demand Deposit                     *3550         4,629.56            8,368.44           8,368.44           Yes             001113
Shopko Stores Operating Co     American State Bank & Trust Demand Deposit                         *8002         3,421.78            8,134.58           8,134.58           Yes             001113
Shopko Stores Operating Co     Central National Bank           Demand Deposit                     *1179         2,798.78            8,340.14           8,340.14           Yes             001113
Shopko Stores Operating Co     Great Western Bank              Demand Deposit                     *4073         5,074.33           11,032.19          11,032.19           Yes             001113
Shopko Stores Operating Co     Great Western Bank              Demand Deposit                     *4196         3,079.27            4,890.53           4,890.53           Yes             001113
Shopko Stores Operating Co     Carroll County Trust            Demand Deposit                     *4369         4,858.93           12,077.53          12,077.53           Yes             001113
Shopko Stores Operating Co     Mid                             Demand Deposit                     *2156         4,026.59           10,883.93          10,883.93           Yes             001113
Shopko Stores Operating Co     Bethany Trust Company           Demand Deposit                     *5001           500.00            5,013.89           5,013.89           Yes             001113
Shopko Stores Operating Co     Exchange Bank of NE MO          Demand Deposit                     *0287         5,859.23           13,396.18          13,396.18           Yes             001113
Shopko Stores Operating Co     First National Bank             Demand Deposit                     *2210         6,519.61           15,931.02          15,931.02           Yes             001113
Shopko Stores Operating Co     Consumer National Bank          Demand Deposit                     *7664        10,219.75           21,335.65          21,335.65           Yes             001113
Shopko Stores Operating Co     The Citizens National Bank Demand Deposit                          *8560         6,003.08           17,037.18          17,037.18           Yes             001113
Shopko Stores Operating Co     FCN Bank                        Demand Deposit                     *8162         9,562.21           17,640.90          17,640.90           Yes             001113
Shopko Stores Operating Co     First Federal Savings Bank      Demand Deposit                     *0020         3,133.26            7,293.09           7,293.09           Yes             001113
Shopko Stores Operating Co     Security Bank & Trust Co.       Demand Deposit                     *9844         5,907.61            9,574.61           9,574.61           Yes             001113
Shopko Stores Operating Co     united Valley Bank              Demand Deposit                     *1140         3,879.95            7,591.73           7,591.73           Yes             001113
Shopko Stores Operating Co     Security State Bank             Demand Deposit                     *3781         2,934.73            5,168.44           5,168.44           Yes             001113
Shopko Stores Operating Co     United Community Bank           Demand Deposit                     *0397         3,685.25            7,684.89           7,684.89           Yes             001113
Shopko Stores Operating Co     Glenwood State Bank             Demand Deposit                     *1428         2,219.44            4,608.45           4,608.45           Yes             001113
Shopko Stores Operating Co     United Farmers & Merchants Demand Deposit                          *5829         3,327.47            6,354.93           6,354.93           Yes             001113
Shopko Stores Operating Co     Merchants Bank                  Demand Deposit                     *9227         4,549.28            9,014.10           9,014.10           Yes             001113
Shopko Stores Operating Co     Citizens State Bank             Demand Deposit                     *6708         6,260.39           11,149.31          11,149.31           Yes             001113
Shopko Stores Operating Co     Great Western Bank              Demand Deposit                     *4145         4,553.14            7,012.18           7,012.18           Yes             001113
Shopko Stores Operating Co     1st Farmers & Merchants Ban Demand Deposit                         *6744         2,200.78            3,954.99           3,954.99           Yes             001113
Shopko Stores Operating Co     1st Bank & Trust                Demand Deposit                     *3320         3,540.81            6,657.02           6,657.02           Yes             001113
Shopko Stores Operating Co     Pioneer Bank                    Demand Deposit                     *5411         4,336.56            8,540.38           8,540.38           Yes             001113
Shopko Stores Operating Co     United Prairie Bank             Demand Deposit                     *5143         3,195.64            5,019.47           5,019.47           Yes             001113
Shopko Stores Operating Co     Points West Community Bank Demand Deposit                          *9706         3,012.96            5,585.25           5,585.25           Yes             001113
Shopko Stores Operating Co     First State Bank of Newcastle Demand Deposit                       *6113         3,111.42            5,281.68           5,281.68           Yes             001113
Shopko Stores Operating Co     Central Bank & Trust            Demand Deposit                     *6287         5,953.34           11,136.37          11,136.37           Yes             001113
Shopko Stores Operating Co     Black Hills Federal Credit Unio Demand Deposit                     *9002         2,441.13            7,367.94           7,367.94           Yes             001113
Shopko Stores Operating Co     First National Bank of Buffalo Demand Deposit                      *1952         2,514.02            4,266.64           4,266.64           Yes             001113
Shopko Stores Operating Co     Stockman Bank                   Demand Deposit                     *3139         2,099.94            3,552.49           3,552.49           Yes             001113
Shopko Stores Operating Co     1st Montana Bank                Demand Deposit                     *6458         5,361.71           12,387.65          12,387.65           Yes             001113
Shopko Stores Operating Co     Bank of Greybull                Demand Deposit                     *1859         2,151.29            4,251.18           4,251.18           Yes             001113
Shopko Stores Operating Co     Houghton State Bank             Demand Deposit                     *2494         2,779.71            6,985.91           6,985.91           Yes             001113
                                                      Case 19-80064-TLS    Doc 1753 Filed 07/31/19 Entered 07/31/19 13:32:46         Desc Main
                                                                                   Document    Page 22 of 22



Specialty Retail Shops Holding Corp. (19-80064)
MOR - Bank Reconciliation

                                                                                    Account Number
        Debtor Entity                   Bank Name                Account Type           (last 4)     Bank Balance     Reconciled Balance   Ledger Balance    Reconciled as of 6/18? GL Account
Shopko Stores Operating Co     Titonka Savings Bank       Demand Deposit                     *2504         7,042.96           10,494.59          10,494.59           Yes             001113
Shopko Stores Operating Co     Associated                 Utility Escrow                     *2794        1,290,000           1,290,000          1,290,000           yes             001210
